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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF ILLINOIS

IN RE      LARRY FRANCIS USELTON                              )
                  Debtor                                      )       BK –18-40702
                                                              )       Chapter 7

EVANSVILLE TEACHERS FEDERAL CREDIT UNION                              )
               Movant                                                 )
               vs                                                     )
LARRY FRANCIS USELTON and DANA S FRAZIER                              )
               Respondents                                            )

   NOTICE OF MOTION FOR RELIEF FROM STAY AND FOR ABANDONMENT,
   PROVISION DIRECTING RESPONSE THERETO, AND SETTING HEARING ON
                         OBJECTIONS, IF ANY

        The above captioned persons shall take notice a Motion or other request to lift the
automatic stay in the above captioned bankruptcy has been filed with the U.S. Bankruptcy Court
for the Southern District of Illinois, 301 West Main Street, Benton, Illinois 62812-1362.

        Any objections to the attached Motion must be filed with the Court on or before the 26TH
day of November, 2018 with a copy forwarded to Evansville Teachers Federal Credit Union, c/o
Patrick J. Hewson, P.O. Box 1060, Carbondale, IL 62903.

       If no objections to the relief sought are timely filed, the Court will enter an order granting
the motion.
        In the event an objection is filed, a preliminary hearing on the motion will be held at 9:00
a.m. on the 5TH day of December, 2018, before the United States Bankruptcy Court for the
Southern District of Illinois, 301 West Main Street, Benton, Illinois 62812-1362. If a party fails
to appear in person or by counsel, the Court may proceed with the scheduled hearing and may
enter an appropriate order or judgment, including dismissal of the pending motion.


                                                                      /s/ Patrick J. Hewson
Gilbert, Huffman, Prosser, Hewson & Barke, Ltd.
Attorneys at Law
102 S. Orchard Drive
P.O. Box 1060
Carbondale, IL 62903-1060
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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF ILLINOIS

IN RE      LARRY FRANCIS USELTON                            )
                  Debtor                                    )      BK –18-40702
                                                            )      Chapter 7

EVANSVILLE TEACHERS FEDERAL CREDIT UNION                           )
               Movant                                              )
               vs                                                  )
LARRY FRANCIS USELTON and DANA S FRAZIER                           )
               Respondents                                         )


EVANSVILLE TEACHERS FEDERAL CREDIT UNION CERTIFICATE OF SERVICE
 OF NOTICE OF MOTION FOR RELIEF FROM STAY AND FOR ABANDONMENT,
  PROVISION DIRECTING RESPONSE THERETO AND SETTING HEARING ON
                       OBJECTIONS, IF ANY
       The undersigned certifies that copies of the Notice of Motion for Relief From Automatic
Stay and For Abandonment, Directing Response Thereto, and Setting Hearing on Objections, If
Any, were served upon the following parties via electronic means for those available and otherwise
by postage prepaid, in the U.S. Mail in Carbondale, Illinois this 9TH day of November, 2018:
        United States Trustee                        Dana S Frazier, Case Trustee
        USTPRegion10.es.ecf@usdoj.gov               frazierlaw@frontier.com
        Larry Francis Uselton, Debtor               All Creditors on Creditor Matrix
        245 W Meadowbrook Dr
        Shawneetown, IL 62984

                                              Respectfully Submitted: EVANSVILLE
                                              TEACHERS FEDERAL CREDIT UNION
                                        BY:   /s/ Patrick J. Hewson
                                              PATRICK J. HEWSON, 06193175
Gilbert, Huffman, Prosser, Hewson & Barke, Ltd.
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